






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-07-00728-CV






Twigland Fashions, Ltd., Appellant


v.


Nemia Miller, Appellee






FROM THE DISTRICT COURT OF TRAVIS COUNTY, 53RD JUDICIAL DISTRICT

NO. D-1-GN-06-002877, HONORABLE STEPHEN YELENOSKY, JUDGE PRESIDING





O P I N I O N


		Twigland Fashions, Ltd. ("Twigland") appeals a judgment awarding one of its
former&nbsp;store managers, Nemia Miller, $12,000 in actual damages on a hostile-work-environment
theory of gender-based job discrimination through a supervisor's sexual harassment.  See Tex. Lab.
Code Ann. §§ 21.051, .2585 (West 2006); Burlington Indus., Inc. v. Ellerth, 524 U.S. 742, 752-54
(1998); Hoffmann-LaRoche, Inc. v. Zeltwanger, 144 S.W.3d 438, 445 n.5 (Tex. 2004).  In light of
that award, the judgment also awarded Miller, as the prevailing party, over $150,000 in attorney's
fees.  See Tex. Lab. Code Ann. § 21.259 (West 2006).

		In five issues, Twigland asserts that (1) the evidence was legally insufficient to
support a jury submission or finding of its liability under a hostile-work-environment sexual-harassment theory, or it was at least factually insufficient to support that finding; (2) Twigland
conclusively established its Faragher/Ellerth affirmative defense or that the jury's failure to find for
Twigland on that issue was against the great weight and preponderance of the evidence; (3) Miller
failed to present legally or factually sufficient evidence that she incurred any compensatory damages;
(4) the district court abused its discretion in admitting certain evidence; and (5) the evidence
was&nbsp;legally and factually insufficient to support the attorney's fee award given the amount of
actual&nbsp;damages awarded.  Because we agree with Twigland that the evidence was legally insufficient
to support submission of Miller's hostile-work-environment theory of liability, we will reverse and
render judgment that Miller take nothing on her claims.


BACKGROUND

		Appellant Twigland is a women's apparel retailer that operates a chain of stores under
brand names that include A'GACI. (1)  Appellee Nemia Miller was a manager of an A'GACI store in
Austin's Highland Mall between October 2004 and December 28, 2005, when she was involuntarily
terminated.  Throughout Miller's tenure at Twigland, her immediate supervisor was Henry Alonzo. 
Alonzo was Twigland's regional manager responsible for the Highland Mall store that Miller
managed, another Austin store located at the Barton Creek Mall, and seven other stores spread across
San Antonio, Laredo, and Eagle Pass.  It was Alonzo who informed Miller of Twigland's decision
to terminate her, although the parties dispute the extent to which he had any role in that decision. 

		Before her termination, it is undisputed that Miller never claimed to anyone at
Twigland--or any other person, for that matter--that she had been sexually harassed on the job. 
Following her termination, however, Miller obtained counsel, who, on March 14, 2006, wrote
Twigland's legal department advising of his retention in connection with Miller's termination,
"including but not limited to claims of sexual harassment and retaliation, and related claims."  On
March 28, Miller filed a charge of discrimination with the Austin Equal Employment/Fair Housing
Office accusing Alonzo of having sexually harassed her between November 9 and December 28,
2005, the final seven weeks of her tenure at Twigland.  According to Miller, Alonzo "would question
me regarding my personal, sexual life and experiences," "professed his love for me and told me that
I owed him kisses and hugs," and, "[o]n one occasion, . . . came up behind me and grabbed me
and&nbsp;wrapped his arms around me and pressed his body against mine."  Miller further charged that
she "avoided his actions whenever possible and made every effort not to be left alone with him." 
She attributed her eventual termination--which, she claimed, came "[a]fter approximately two
weeks of avoiding" Alonzo--to "retaliation for denying his sexual advances towards me."

		After exhausting her administrative remedies, Miller sued Twigland alleging that her
firing constituted gender-based employment discrimination through quid-pro-quo sexual harassment,
in violation of the Texas Commission on Human Rights Act (TCHRA).  See Tex. Lab. Code Ann.
§&nbsp;21.051; Ellerth, 524 U.S. at 752-54. (2)  Miller also asserted a hostile-work-environment theory
of&nbsp;gender discrimination through sexual harassment.  See Tex. Lab. Code Ann. §§ 21.051, .2585; 
Ellerth, 524 U.S. at 752-54; Zeltwanger, 144 S.W.3d at 445 n.5.  She further pled common-law
causes of action against both Twigland and Alonzo individually for assault and battery.  Miller
sought actual damages, punitive damages, attorney's fees and expert fees.  See id.
§§&nbsp;21.2585,&nbsp;.259(a), (c).  Twigland responded with a general denial and raised the Faragherem&gt;/Ellerth
affirmative defense to Miller's hostile-work-environment claim.  See Faragher v. City of
Boca&nbsp;Raton, 524 U.S. 775, 780, 807-08 (1998); Ellerth, 524 U.S. at 765. (3) 

		Before trial, Miller non-suited her assault claims and proceeded to trial under her
TCHRA claims against Twigland.  Miller relies on the following evidence in support of the verdict
and judgment.

		According to Miller, Alonzo's sexually harassing conduct was preceded and
accompanied by what she regarded as increasing unjustified criticism of her job performance.  She
testified that toward the end of 2005 she perceived that Alonzo "would pick on me over little, petty
things" related to her store's operations when, at least in her view, there was no merit to his
complaints. (4)  On November 2, Alonzo gave Miller a written "corrective action" or reprimand after
an October 22 inventory of revealed that her store had lost 82 pairs of shoes and had a 7.06 percent
"shrink rate," or percentage loss of inventory.  The document stated various measures that Miller
was&nbsp;ordered to take to control shrinkage, including better monitoring of customers in the store
and&nbsp;reporting all thefts to police, with an overall mandate to control shrinkage below three percent. 
At trial, Miller suggested that this three-percent goal was wholly unrealistic, and likely a pretense,
because her store was located in a high-crime area and had a history of high shrinkage percentages
that she, as store manager, had done much to improve.

		Miller claimed that at unspecified times during October or November 2005, Alonzo
had made "very light, physical contacts" with her "at times when behind the counter would be
overcrowded and I would be taking care of customers" in her store.  According to Miller, Alonzo,
"would just touch my waist as he walk[e]d past me from behind and sort of like brushed against
my&nbsp;behind."  Miller acknowledged that "I didn't think anything of it at all" when these contacts
occurred.  Miller also testified that Alonzo would have her leave the store and accompany him to the
Highland Mall food court, where the two would conduct their business meetings because her "store
at the time didn't have an office."  She complained that during these meetings--which, according
to Miller, could last "for hours" because "[w]e would disagree on certain things"--Alonzo "would
just put his hand on mine."

		Alonzo's actionable sexual harassment, in Miller's view, began on November 9--one
week after her November 2 reprimand--while she and Alonzo were conducting one of their
business&nbsp;meetings in the Highland Mall food court.  According to Miller, "[w]e were discussing
other issues that we were having with some of my associates [store employees]," when Alonzo
"pause[d] and just suddenly busted out and just asked me, 'So how many men have you slept
with&nbsp;Nemia?'"  Miller professed "total shock" at the question, but eventually answered it because
she "was afraid I was going to lose my job and I was going to be in trouble somehow if I didn't
answer him."

		Miller also testified that Alonzo "said that he wanted to be friends outside work
and&nbsp;for me not to tell anyone, that I have to be quiet about it," adding that remaining quiet was
"important because the only friend he's ever had outside work was Anna."  "Anna," the evidence
reflected, was a former store manager who had been promoted under Alonzo's supervision.
According to Miller, she understood Alonzo's remarks to mean that "I was going to get promoted
eventually and succeed with the company" if she would agree to be friends with Alonzo outside of
work, and if not, "that I was going to lose my job and he was going to make me look bad."

		Miller claimed that she was "humiliated" and "completely appalled" by the events
during this meeting, to the extent that she "woke up in the middle of the night," and for the first time
in her life, began a diary to record her experiences.  Twigland introduced the diary into evidence. 
It is handwritten, with entries that purport to be contemporaneous accounts of events occurring on
November 9 and 11 and December 7, 8, 15, and 28, 2005.  These dates generally correspond to the
timing of incidents with Alonzo to which Miller testified at trial, although the diary omits various
alleged acts and details Miller revealed in her courtroom account. (5) 

		Miller further testified that during a phone conversation at or around the same
time--November 11, her diary indicates--Alonzo informed her that she "owed" him "a hug" for
failing to comply with instructions from his superior concerning the placement of balloons in her
store to alert customers to a sales promotion. (6)  Thereafter, Miller claimed, "[w]hen [Alonzo] would
come into the store and he would visit" and she or one of her employees would "do something that
he wouldn't be happy with," Alonzo, when reprimanding her either during the visit or in a
subsequent phone conversation, would tell her, "you owe me a kiss or you owe me two kisses." 
According to Miller, "as the days went on, I would owe him more and more kisses."  Miller
acknowledged that Alonzo "didn't say kisses in front of my girls," but would instead signal errors
or deficiencies with "you owe me two, three, you owe me four," or "that's five or that's six."  Miller
understood these statements to refer to Alonzo's escalating count of "kisses." 

		Following Alonzo's November 9 store visit and November 11 phone conversation,
the next alleged act of which Miller complained occurred on December 7.  On that day, Alonzo
visited Miller's store, accompanied by Twigland president John "Mr. John" Won.  Won would
periodically visit the store to evaluate first-hand its cleanliness, presentation, and employee
performance. (7)  Miller testified that "Mr. John was helping us with putting stickers on the shoes" in
a retail area of the store and sent her to retrieve more stickers from a back storeroom.  According to
Miller, "Henry [Alonzo] followed along, as if he was going to help me get the stickers."  Then, while
Miller was "kind of like halfway bent down looking for the shoe stickers down below on the
shelves," Alonzo, without warning, "came up right behind me and just gave me this really tight hug"
while uttering "some comment about the holiday."  Miller claimed that "all of his body" came into
contact with hers, with his arms "in front of me," in a manner that "I would probably get from a
spouse or a boyfriend."  The embrace "lasted like maybe a second or so" before Miller "broke loose
as fast as I could."  A few minutes later, when Miller returned to the storeroom to retrieve more
stickers for Mr. John, Alonzo, according to Miller, "did the same thing again." (8)  Miller claimed she
"told myself never to go back in that stock room with Henry again."  On neither occasion, Miller
testified, did she complain to Mr. John about Alonzo's alleged actions, claiming that "I was scared
that Mr. John was going to take his side." 

		On the following day, December 8, which had been one of her scheduled days off,
Miller testified that Alonzo called her and told her to meet him at her store at a designated time. (9) 
Miller, who was with her minor daughters that day, failed to arrive at the store until thirty minutes
after the appointed time.  By this time, Alonzo had to leave for the Barton Creek store.  He ordered
Miller to meet him there, indicating, according to Miller, that "[w]e need to meet about your visit
[from Mr. John].  Your visit went very, very bad."  After Miller arrived at Barton Creek Mall, the
pair met in a public area near Nordstrom while Miller's daughters excused themselves.  During the
meeting, according to Miller, Alonzo insisted that Mr. John's store visit had gone poorly while
Miller "kept telling him, I don't understand.  I don't understand.  What's so bad about the visit?"
According to Miller, the conversation grew heated, and Alonzo at one point suggested that mall
onlookers would think they were having a "lover's quarrel."  During the exchange, Miller claimed,
Alonzo "just kept pounding on the table.  He's like, You don't get it, do you?  You don't get it, do
you, Nemia?"  Miller testified that she eventually acknowledged that "I don't get it" and asked
Alonzo to explain, after which Alonzo "finally calmed down [and] sat back down again.  And he
said, You know I love and I care about you."  Miller claimed that she inquired, "What exactly do
you&nbsp;mean by that, sir?" to which Alonzo responded, "It's just business" and, "Obviously, you don't
feel the same."  Before the meeting concluded, Alonzo, according to Miller, "said that I owed him
another kiss and that he would get those kisses when I least expected." (10)  At some point that day,
Miller acknowledged (and wrote in her diary) that Alonzo "gave me my write up for going over
payroll hrs" and admitted at trial that "it was fair for Mr. Alonzo to write [her] up" for this.

		A week later, on December 15, Alonzo visited Miller's store again, accompanied by
Debe Lavarius, Alonzo's immediate superior.  In her diary, Miller acknowledged that "Debe was
furious" because Miller had permitted members of her lower-management team to take time off
during the holiday season, leaving the store shorthanded during one of its busiest times of the year. 
Miller wrote that this was one of the occasions in which Alonzo counted "kisses":


Henry also mentioned in the store that because I screwed up again&nbsp;.&nbsp;.&nbsp;.&nbsp;this time I
owe&nbsp;him 6 kisses.  I don't know where his #'s are coming from but last time I
remembered him talking about it, I thought he said that I owed him 4 kisses, for
what?  I don't know&nbsp;.&nbsp;.&nbsp;.&nbsp;I don't really pay attention to him anymore when he starts
talking nonsense.



(Ellipses in original.)  At trial, Miller recounted that Alonzo's exact statement, made within
hearing&nbsp;of others, was that she "owed him six" because she had understaffed her store during the
holiday season.

		Miller was terminated three days after a Christmas Day incident in which she
had&nbsp;failed to promptly respond to a cell-phone call from Brinks, the company that monitored the
security alarm at her store, notifying her that the alarm had been triggered. (11)  After a four-hour delay,
Miller called Brinks but could not obtain information regarding the nature or cause of the alarm
because she could not provide Brinks with Twigland's security password. (12)  It is undisputed that
Miller did not take further steps that day to secure the store's inventory, such as calling other
Twigland employees to obtain the security password or requesting assistance from Austin police or
mall security.  Instead, "hoping for the best," as Miller put it at trial, she waited until the following
work day to check on the store.  Although it ultimately turned out that no inventory had been lost,
the decision was made by or in consultation with Mr. John (it was disputed whether Alonzo had a
role in the decision) that Miller should be terminated.  Alonzo met with Miller on December 28
and&nbsp;delivered the news.  Miller claims that Alonzo cried during their meeting; said, "Why did you
have to screw up like this?  I had so many plans for us;" and told her that he had wanted to take her
to the Oasis. (13) 

		Alonzo denied ever harassing Miller, and Twigland attempted to raise the
inference&nbsp;that she had fabricated her accounts after she was fired.  Twigland emphasized that the
first&nbsp;time Miller divulged any allegation of sexual harassment to anyone at Twigland was when her
lawyer wrote the company approximately two-and-a-half months after her termination.  Miller also
acknowledges that she had not revealed Alonzo's alleged harassment to anyone, including
her&nbsp;husband or fellow employees with whom she was friends, while she was employed by Twigland. 
Miller insisted, however, that she had been intimidated by the perception that Alonzo was close
to&nbsp;Mr. John.  Twigland also presented evidence that Alonzo and others at Twigland commonly
used&nbsp;"love" as an informal term of affection (e.g., Alonzo emailing his stores urging "I LOVE
WORKING WITH ALL OF YOU" and receiving the response "WE LOVE YOU HENRY") and
that&nbsp;Miller termed her store's personnel "The Hot Mamas" and divulged in email such intimacies
as&nbsp;an upcoming visit to her "gyno".  Twigland also presented evidence that Alonzo had a practice
of&nbsp;awarding candy kisses for good employee performance, suggesting that any references to
kisses&nbsp;Miller allegedly "owed" him merely signified that she was accruing negative candy kisses for
poor job performance. 

		Twigland also elicited admissions from Miller that Alonzo had never sexually
solicited her, asked her to have sex with him, made a sexual advance toward her, or actually
attempted to kiss her.  She further conceded that despite Alonzo's alleged conduct during November
and December 2005, it had not impacted her job performance and that, to the contrary, she perceived
her performance had bested that of Alonzo's other store managers and was actually improving.  In
fact, Miller's store was named Twigland's "Store of the Month" for December 2005.  On the other
hand, Miller maintained that Alonzo's conduct made it "harder" for her to do her work while he was
in the store, elaborating, "Whenever he was in the store I would inquire about what he's going to do
next, what's going to happen now.  And I would constantly think about that and worry about that,
that I wasn't effective at all with work."  However, Miller conceded that these impediments arose
only "[w]hen [Alonzo] was in the store, but not when he was actually not in the store," and that
Alonzo (who was responsible for nine stores spread between Austin and Eagle Pass) was in her
store&nbsp;only once or twice per month.  However, Miller claimed that when Alonzo did visit her store,
he typically stayed "[a]n entire day," and she suggested that this was somewhat longer than his visits
to other stores with male managers.

		The district court submitted to the jury both Miller's quid-pro-quo liability theory
(whether Miller was "subjected to unwelcome sexual advance(s) or demand(s)" by Alonzo and
that&nbsp;her "submission to or refusal to submit" to such advances or demands was a "motivating factor"
in her termination), her hostile-work-environment theory, and Twigland's Faragher/Ellerth
affirmative defense to vicarious liability under Miller's hostile-work-environment theory.  See
Faragher, 524 U.S. at 807-08; Ellerth, 524 U.S. at 765.  The jury failed to find Twigland liable
under Miller's quid-pro-quo theory.  However, it found Twigland liable under the hostile-work-environment theory and failed to find that Twigland had established both elements of its
Faragher/Ellerth defense.  As compensatory damages for the discrimination it found, the jury
awarded Miller $12,000.  However, the jury failed to find unanimously that Twigland had acted with
malice or reckless indifference with respect to Miller's right to be free of such discrimination,
precluding the jury from awarding Miller punitive damages.

		Miller's claim for attorney's fees and expert fees was tried to the district court,
which&nbsp;awarded Miller $113,625 in reasonable and necessary trial-level attorney's fees, $35,000
in&nbsp;contingent appellate fees and $1,440 in expert-witness fees.  The court entered findings of fact
and&nbsp;conclusions of law in support of these awards.  The district court subsequently rendered
final&nbsp;judgment awarding Miller the actual damages awarded by the jury, prejudgment and post-judgment interest on that amount, plus the attorney's fees and expert fees the court had found.  This
appeal ensued. 


ANALYSIS

		Twigland brings five issues on appeal, contending that (1) the evidence was legally
insufficient to support the jury submission of Miller's hostile-work-environment theory and legally
and factually insufficient to support the jury's finding on that issue; (2) the evidence conclusively
established Twigland's Faragher/Ellerth affirmative defense to Miller's hostile-work-environment
theory or the jury's contrary finding was against the great weight and preponderance of the evidence;
(3) the evidence was legally and factually insufficient to support the jury's award of any
compensatory damages to Miller; (4) the district court's award of almost $150,000 in attorney's fees
to Miller on her mere $12,000 actual-damages recovery was excessive and not supported by legally
or factually sufficient evidence; and (5) that the district court abused its discretion in admitting
certain evidence of Alonzo's conduct involving other Twigland employees.  We need only consider
Twigland's first issue, as it is dispositive. 

		We will sustain a legal-sufficiency complaint if the record reveals:  (a) the complete
absence of a vital fact; (b) the court is barred by rules of law or of evidence from giving weight to
the only evidence offered to prove a vital fact; (c) the evidence offered to prove a vital fact is no
more than a mere scintilla; or (d) the evidence establishes conclusively the opposite of the vital fact.
City of Keller v. Wilson, 168 S.W.3d 802, 810 (Tex. 2005).  The ultimate test for legal sufficiency
is whether the evidence at trial would enable reasonable and fair-minded people to reach the verdict
under review.  See id. at 827.  We review the evidence in the light favorable to the verdict, crediting
favorable evidence if reasonable jurors could and disregarding contrary evidence unless reasonable
jurors could not.  See id. at 807.

		When the evidence offered to prove a vital fact is so weak as to do no more
than&nbsp;create a mere surmise or suspicion of its existence, the evidence is less than a scintilla and,
in&nbsp;legal effect, is no evidence.  Ford Motor Co. v. Ridgway, 135 S.W.3d 598, 601 (Tex. 2004).  But
more than a scintilla of evidence exists if the evidence rises to a level that would enable reasonable
and fair-minded people to differ in their conclusions.  Id. 

		When reviewing a challenge to the factual sufficiency of the evidence supporting a
vital fact, we must consider, weigh, and examine all of the evidence in the record, both supporting
and against the finding, to decide whether the verdict should be set aside.  Plas-Tex, Inc. v. U.S. Steel
Corp., 772 S.W.2d 442, 445 (Tex. 1989); Pool v. Ford Motor Co., 715 S.W.2d 629, 635
(Tex.&nbsp;1986).  We should set aside the verdict only if the evidence that supports the jury finding is
so weak as to be clearly wrong and manifestly unjust.  See Cain v. Bain, 709 S.W.2d 175, 176
(Tex.&nbsp;1986).  But we may not merely substitute our judgment for that of the jury.  Pool, 715 S.W.2d
at 635.  The jury remains the sole judge of witnesses' credibility and the weight to be given their
testimony.  Golden Eagle Archery, Inc. v. Jackson, 116 S.W.3d 757, 761 (Tex. 2003).

		The TCHRA provides administrative remedies against "unlawful employment
practices," and, once those remedies are exhausted, judicial remedies including recovery of
certain&nbsp;damages, equitable relief, and attorney's and expert-witness fees.  See Tex. Lab. Code Ann.
§§ 21.201-.262 (West 2006).  The TCHRA's general prohibition against "unlawful employment
practices," section 21.051 of the labor code, provides, in relevant part: 

An employer commits an unlawful employment practice if because of race, color,
disability, religion, sex, national origin, or age the employer:


(1) 	fails or refuses to hire an individual, discharges an individual, or
discriminates in any other manner against an individual in connection with
. . . the terms, conditions, or privileges of employment . . . .



Id. § 21.051.  Section 21.051 is modeled on and "'is substantively identical to its federal equivalent
in Title VII' but adds age and disability to the protected categories."  Texas Parks &amp; Wildlife Dep't
v. Dearing, 240 S.W.3d 330, 349 n.7 (Tex. App.--Austin 2007, pet. denied) (quoting Quantum
Chem. Co. v. Toennies, 47 S.W.3d 473, 475 (Tex. 2001)); see 42 U.S.C.A. § 2000e-2(a)(1)
(West&nbsp;2003) ("[I]t shall be an unlawful employment practice for an employer . . . to fail or refuse to
hire or to discharge any individual, or otherwise to discriminate against any individual with
respect&nbsp;to his compensation, terms, conditions, or privileges of employment, because of such
individual's race, color, religion, sex, or national origin . . . .").  The legislature intended that the
TCHRA "'correlat[e] . . . state law with federal law in the area of discrimination in employment,'" 
Dearing, 240 S.W.3d at 351 (quoting Schroeder v. Texas Iron Works, Inc., 813 S.W.3d 483, 485
(Tex. 1991)), and "'coordinate and conform with federal law under Title VII&nbsp;.&nbsp;.&nbsp;.&nbsp;.,'" id. (quoting
Caballero v. Central Power &amp; Light Co., 858 S.W.2d 359, 361 (Tex. 1993)).  Thus, we may look
to federal case law under Title VII when construing its Texas counterpart.  Zeltwanger, 144 S.W.3d
at 445-46.

		The statutory focus of labor code section 21.051, like Title VII, is employer conduct
that "discriminates . . . against an individual in connection with . . . the terms, conditions, or
privileges of employment."  With regard to gender discrimination, the U.S. Supreme Court has
recognized that the phrase "terms, conditions or privileges of employment" is not limited to "'terms'
and 'conditions' in the narrow contractual sense, but 'evinces a congressional intent to strike
at&nbsp;the&nbsp;entire spectrum of disparate treatment of men and women' in employment.'"  Oncale
v.&nbsp;Sundowner Offshore Servs., 523 U.S. 75, 78 (1998) (quoting Meritor Sav. Bank, FSB v. Vinson,
477 U.S. 57, 64 (1986) (citations and internal quotation marks omitted)).

		While potentially actionable under other civil-liability theories, such as common-law
assault, or even prohibited by the criminal law, sexual harassment--"unwelcome sexual advances,
requests for sexual favors, and other verbal or physical conduct of a sexual nature," Vinson, 477 U.S.
at 65--does not in itself constitute "discriminat[ion]&nbsp;.&nbsp;.&nbsp;.&nbsp;against an individual in connection
with&nbsp;.&nbsp;.&nbsp;.&nbsp;the terms, conditions, or privileges of employment" "because of&nbsp;.&nbsp;.&nbsp;.&nbsp;sex."  However,
sexual&nbsp;harassment can affect a "term, condition, or privilege" of a plaintiff's employment,
and&nbsp;thereby constitute an actionable "unlawful employment practice," in two general ways:  (1) the
employer takes a "tangible employment action" (i.e., explicitly alters terms, conditions, or privileges
of employment) based on whether the employee submits to a sexual demand; or (2) while
not&nbsp;culminating in a tangible employment action, sexual harassment is nonetheless said to
constructively alter the employee's terms or conditions of employment.  See Ellerth, 524 U.S. at 752-54; Zeltwanger, 144 S.W.3d at 445 n.5.  The former circumstance or theory is termed quid-pro-quo
sexual harassment, the theory that the jury rejected here; the latter is the hostile-work-environment
theory under which Twigland was found liable.

		Consistent with the statutory focus on discriminatory employment terms and
conditions, a plaintiff asserting a hostile-work-environment sexual-harassment theory of job
discrimination against her employer has the burden of establishing not only that:  (1) she is a member
of a protected class (e.g., a woman); (2) she was the victim of uninvited sexual harassment; and
(3)&nbsp;the harassment was based on sex; but also that (4) the harassment affected a "term, condition,
or privilege" of her employment.  See Harvill v. Westward Commc'ns, L.L.C., 433 F.3d 428,
434&nbsp;(5th Cir. 2005).  Further, to hold her employer vicariously liable, the plaintiff must also prove
(5) her employer knew or should have known of the harassment and failed to take prompt remedial
action.  Id.  However, where, as here, a hostile-work-environment sexual-harassment claim is
predicated on actions by the plaintiff's supervisor, the plaintiff need not prove the fifth element;
instead, the burden is shifted to the employer to defeat vicarious liability by proving the
Faragher/Ellerth affirmative defense.  Faragher, 524 U.S. at 802-08; Ellerth, 524 U.S. at 765.  On
appeal, Twigland challenges the sufficiency of the evidence supporting the fourth element, whether
any harassment by Alonzo affected a "term, condition, or privilege" of Miller's employment.

		"[N]ot all workplace conduct that may be described as 'harassment' affects a 'term,
condition or privilege' of employment."  Vinson, 477 U.S. at 67.  As the U.S. Supreme Court has
explained, in regard to Title VII:


Title VII does not prohibit genuine but innocuous differences in the ways men and
women routinely interact with members of the same sex and of the opposite sex.  A
recurring point in [our] opinions is that simple teasing, offhand comments, and
isolated incidents (unless extremely serious) will not amount to discriminatory
changes in the terms and conditions of employment.  These standards for judging
hostility are sufficiently demanding to ensure the Title VII does not become a general
civility code.



Faragher, 524 U.S. at 788 (citations and internal quotation marks omitted).  Such matters are instead
left to other legal theories or protections, employer policies and practices, or social opprobrium.

		The core concept of the hostile-work-environment sexual-harassment theory is that
sexual harassment has created an environment that, through the impact it would have on the victim,
can be said to discriminatorily alter a "term, condition, or privilege" of employment.  See Ellerth,
524 U.S. at 751-52; Wal-Mart Stores, Inc. v. Itz, 21 S.W.3d 456, 473 (Tex. App.--Austin 2000,
pet.&nbsp;denied) ("The critical inquiry is the environment . . . .") (quoting Soto v. El Paso Natural Gas
Co., 942 S.W.2d 671, 678 (Tex. App.--El Paso 1997, writ denied)).  Sexual harassment is said to
affect a term, condition, or privilege of employment when "the workplace is permeated with
discriminatory intimidation, ridicule, and insult that is sufficiently severe or pervasive to alter
the&nbsp;conditions of the&nbsp;victim's employment and create an abusive working environment."  Harris
v.&nbsp;Forklift Sys., Inc., 510 U.S. 17, 21 (1993) (citations and internal quotation marks omitted).  In
other words, sexual&nbsp;harassment is sufficiently "severe" or "pervasive" to alter the terms, conditions,
or privileges of the&nbsp;victim's employment when it can be said to create an "abusive working
environment."  See id. at 24 (Scalia, J., concurring) ("'[A]busiveness' is . . . the test of whether legal
harm has been suffered . . . .").

		The Supreme Court has described the "abusiveness" standard as requiring "extreme"
conduct, Faragher, 524 U.S. at 788, but not necessarily any tangible psychological impact on the
victim.  See Harris, 510 U.S. at 21.  Rather, abusiveness is said to "take[] a middle path between
making actionable any conduct that is merely offensive and requiring the conduct to cause a tangible
psychological injury."  Id.  The idea is that:

A discriminatorily abusive work environment, even one that does not seriously affect
employees' psychological well-being, can and often will detract from employees'
job&nbsp;performance, discourage employees from remaining on the job, or keep them
from advancing in their careers.  Moreover, even without regard to these tangible
effects, the very fact that the discriminatory conduct was so severe or pervasive that
it created a work environment abusive to employees because of their race, gender,
religion, or national origin offends Title VII's broad rule of workplace equality.



Id. at 22; see Oncale, 523 U.S. at 80 ("'The critical issue, Title VII's text indicates [and the same is
true of labor code section 21.051], is whether members of one sex are exposed to disadavantageous
terms or conditions of employment to which members of the other sex are not exposed.'") (quoting
Harris, 510 U.S. at 25 (Ginsburg, J., concurring)); Harris, 510 U.S. at 25 (Scalia, J., concurring)
("[T]he test is not whether work has been impaired, but whether working conditions have been
discriminatorily altered.").  The concept is that sexual harassment rises to a level that is so "extreme"
and "abusive" that it deprives the victim of equal opportunity in the workplace.  See Meritor,
477&nbsp;U.S. at 67 ("'Sexual harassment which creates a hostile . . . environment for members of one
sex is [an] arbitrary barrier to sexual equality at the workplace . . . .'"); DeAngelis v. El Paso Mun.
Police Officers Ass'n, 51 F.3d 591, 593 (5th Cir. 1995) (purpose of hostile-work-environment
sexual-harassment claim "is to level the playing field for women who work by preventing others
from impairing their ability to compete on an equal basis with men. . . . A hostile environment claim
embodies a series of criteria that express extremely insensitive conduct against women, conduct
so&nbsp;egregious as to alter the conditions of employment and destroy their equal opportunity in
the&nbsp;workplace.").

		Whether conduct is sufficiently "extreme" to create an "abusive" work environment
is to be viewed from both an objective and subjective standpoint.  "Conduct that is not severe or
pervasive enough to create an objectively hostile or abusive working environment--an environment
that a reasonable person would find hostile or abusive--is beyond [the statute's] purview."  Harris,
510 U.S. at 21.  "Likewise, if the victim does not subjectively perceive the environment to be
abusive, the conduct has not actually altered the conditions of the victim's employment, and there
is no [statutory] violation."  Id. at 21-22.  Whether a work environment is objectively abusive is
determined by considering "all the circumstances," which "may include the frequency of the
discriminatory conduct; its severity; whether it is physically threatening or humiliating, or a mere
offensive utterance; and whether it unreasonably interferes with an employee's work performance." 
Harris, 510 U.S. at 23; see Hockman v. Westward Commc'ns, LLC, 407 F.3d 317, 325 (5th Cir.
2004) ("Whether an environment is objectively hostile or abusive is determined by considering
the&nbsp;totality of the circumstances.") (citing Harris, 510 U.S. at 23)).  "[N]o single factor is required."
Harris, 510 U.S. at 23.  Sexual harassment may give rise to an abusive work environment
through&nbsp;either its objective severity or its pervasiveness, or some combination of the two, see
Harris,&nbsp;510&nbsp;U.S. at 21, and the level of objective severity in harassment necessary to give rise to
an&nbsp;objectively hostile work environment may be said to vary inversely with its pervasiveness, and
vice versa.  See Lauderdale v. Texas Dep't of Crim. Justice, 512 F.3d 157, 163 (5th Cir. 2007)
("[T]he test--whether the harassment is severe or pervasive--is stated in the disjunctive.  An
egregious, yet isolated incident can alter the terms, conditions, or privileges of employment . . . .  The
inverse is also true:  Frequent incidents of harassment, though not severe, can reach the level of
'pervasive,' thereby alerting the terms, conditions, or privileges of employment such that a hostile
work environment exists.") (citations omitted).

		The Supreme Court has also emphasized that "the objective severity of harassment
should be judged from the perspective of a reasonable person in the plaintiff's position, considering
'all the circumstances,'" with "careful consideration of the social context in which a particular
behavior occurs and is experienced by its target."  Oncale, 523 U.S. at 81.  It has further observed
that "[t]he real social impact of workplace behavior often depends on a constellation of surrounding
circumstances, expectations, and relationships which are not fully captured by a simple recitation
of the words used or the physical acts performed."  Id. at 81-82; see also id. at 81 (contrasting the
examples of a football coach smacking a player on the backside as he heads onto the field versus the
coach's committing the same act on a secretary back at the office). 

		The U.S. Supreme Court has acknowledged that objective abusiveness "is not, and
by its nature cannot be, a mathematically precise test."  Harris, 510 U.S. at 22-23.  Nonetheless, it
has instructed lower courts to apply objective "abusiveness" as a legal threshold to "filter out"
complaints of alleged harassment that are "not actionably severe or pervasive" as a matter of law. 
Faragher, 524 U.S. at 787-88 (approving courts' disposition by summary judgment of claims
"attacking the 'ordinary tribulations of the workplace, such as the sporadic use of abusive language,
gender-related jokes, and occasional teasing'").  Over time, a considerable body of case law has
developed as lower federal courts have applied this "filter" to myriad fact patterns and attempted
to&nbsp;distinguish facts rising to the level of objective abusiveness from those that do not.  The cases are
highly fact-specific, often resembling a sort of equitable balancing of the factors identified by the
U.S. Supreme Court, and clear or categorical rules are elusive.  We may nonetheless glean some
guidance by comparing the factual scenarios in prior decisions to our own.

		We begin by examining the frequency or pervasiveness of Alonzo's alleged conduct. 
Drawing reasonable inferences in Miller's favor, Alonzo's actionable harassment occurred during
only the final forty-nine days before her fourteen-month tenure at Twigland ended in termination. (14)
Within that period, she complains of incidents on only five of those days:


  On November 9, during one of her food-court meetings with Alonzo while he was visiting
her store, Alonzo asked Miller how many men she had slept with.
  During the same meeting, Alonzo expressed a desire to "be friends" with Miller outside the
workplace, insinuated that it would help her career, and insisted that it was "important" that
she keep the relationship secret.

  Beginning in a November 11 phone conversation, Alonzo periodically advised Miller,
explicitly or with coded references, that she "owed" him "hugs" or "kisses" for her poor job
performance. 

  During Alonzo's next store visit on December 7-- almost one month afterward--Alonzo
gave Miller two uninvited full-body hugs from behind for "like maybe a second or so" in a
back storage room in the store. 

  During a meeting on the following day at Barton Creek Mall, after an argument that Alonzo
compared to a "lover's quarrel," Alonzo divulged that he "loved" and "cared" about Miller
but acknowledged, "It's just business," and, "Obviously, you don't feel the same."  He then
indicated that Miller "owed him another kiss and that he would get those kisses when
[Miller] least expected."




Miller also indicated that at unspecified times during Alonzo's store visits--which occurred on
November 9, December 7, and December 15--Alonzo made "very light, physical contacts" with her
"at times when behind the counter would be overcrowded and I would be taking care of customers."
She added that during food-court meetings during these visits, Alonzo "would just put his hand
on&nbsp;mine."  Miller also testified that Alonzo made one of his coded references to accruing "kisses"
during his December 15 store visit.  Finally, Miller complains that during their December 28 meeting
in which he terminated her, Alonzo cried, bemoaned the "plans" he had "for us," and indicated that
he had wanted to take Miller to a restaurant and bar in what could be considered a romantic setting.

		Miller acknowledged that Alonzo--who supervised stores in a region extending from
Austin to Eagle Pass--was typically in her store only once or twice per month and in fact was in her
physical presence during only four days of the forty-nine-day period in which she claimed Alonzo
harassed her--the November 9 store visit, the December 7 store visit, the December 8 meeting at
Barton Creek Mall, and a December 15 store visit.  While Miller insisted that Alonzo's visits to her
store would typically last for the entire work day and that their food-court meetings might last hours,
it remains that these face-to-face encounters and any alleged harassment occurring on those
occasions were relatively infrequent compared to the far more numerous work days in which Alonzo
was not around.  Miller did not complain of any harassment when Alonzo was not present other than
the November 11 phone conversation in which Alonzo purportedly began counting "kisses" or
"hugs."  Further, while Miller claimed that she perceived her job to be more difficult during the days
when Alonzo was in her store, she admitted that she encountered no such impediment "when he
was&nbsp;actually not in the store."  Thus, even under Miller's subjective view of the impact of Alonzo's
conduct on her, it created no impediment to her equal opportunity to succeed in the workplace during
at least forty-five of the forty-nine days at issue (not to mention during the preceding year in which
Miller worked under Alonzo's supervision yet does not complain of any harassment).  See Meritor,
477 U.S. at 67; DeAngelis, 51 F.3d at 593.

		Alonzo's alleged conduct lacks the frequency or pervasiveness that is typically
required to establish an actionable hostile-work-environment sexual-harassment claim.  See, e.g., 
Puckett v. City of Portsmouth, 391 F. Supp. 2d 423, 427, 436 (E.D.Va. 2005) (three incidents during
one month were not sufficiently pervasive to support claim); Gharzouzi v. Northwestern Human
Servs., 225 F. Supp. 2d 514, 536 (E.D. Pa. 2002) (six incidents in three months, including
one&nbsp;month&nbsp;with three incidents, not sufficiently pervasive to support claim); Noble v. Monsanto Co.,
973 F. Supp. 849, 857 (S.D. Iowa 1997) (three incidents in close succession within same year were
not sufficiently pervasive to support claim); Garcia v. ANR Freight Sys., Inc., 942 F. Supp. 351, 356
(N.D. Ohio 1996) (three incidents during five-day orientation did not support claim); cf. Lauderdale,
512 F.3d at 164 (pervasiveness of perpetrator's ten to fifteen phone calls to victim during victim's
shift every night for almost four months reduced victim's burden as to severity).

		Although even infrequent harassment may be deemed to alter terms, conditions,
or&nbsp;privileges of employment if especially egregious, see Faragher, 524 U.S. at 788; Lauderdale,
512&nbsp;F.3d at 163, the conduct of which Miller complains falls below the objective severity courts
have&nbsp;required to meet that threshold.  Miller admitted that Alonzo never sexually solicited her,
asked&nbsp;her to have sex with him, made a sexual advance toward her, or attempted to kiss her.  As for
the conduct Alonzo allegedly did commit, the case law reveals that an array of shockingly more
egregious (and often more pervasive) uninvited physical contact and utterances have been held
insufficiently severe to alter terms, conditions, or privileges of employment.  See, e.g., Hockman,
407&nbsp;F.3d at 321-22 (in addition to making sexually suggestive remarks, repeatedly insisting that
employee be alone with him, and remarking on another employee's body, supervisor over one-and-a-half years brushed up against employee's breast and behind, once tried to kiss her, once stood in
bathroom doorway while employee was present, and once swatted employee's behind with
newspaper); Gupta v. Florida Bd. of Regents, 212 F.3d 571, 578-79, 582-86 (11th Cir. 2000) (during
six- to seven-month period, superior made flirtatious comments (e.g., "[y]ou are looking very
beautiful"); persistently invited her to lunch, dinner, and drinks; called plaintiff's house at night
two&nbsp;or three times per week inquiring into such personal matters as whether she was in bed yet or
where her boyfriend was; once placed his hand on plaintiff's inner thigh; once lifted plaintiff's dress
about four inches; commented that plaintiff was "innocent and you don't have much [sexual]
experience;" and indicated he would have "come and spend [sic] the night with you" during a
thunderstorm the previous evening); Mendoza v. Borden, Inc., 195 F.3d 1238, 1247-51) (5th Cir.
1999) (en banc) (over eleven-month period, supervisor was "constant" in following plaintiff and
staring at her in a "very obvious fashion," twice made a sniffing sound when looking at plaintiff's
groin (and one incident of making a sniffing sound without looking at her groin), once rubbed his
hip against hers while touching her shoulder and smiling, and once said to her, "I'm getting fired
up"); Shepherd v. Comptroller of Pub. Accounts, 168 F.3d 871, 872 (5th Cir. 1999) (co-worker
touched victim's arm several times, rubbed arm down to her wrist, simulated looking up her dress,
tried to look down her clothing, and made sexually suggestive comments that included referring to
color of her nipples and size of her thighs); Quinn v. Green Tree Credit Corp., 159 F.3d 759, 768
(2nd Cir. 1998) (supervisor stated that plaintiff had been "voted the 'sleekest ass' in the office" and,
on another occasion, "deliberately touched" plaintiff's breasts with papers held in his hand); Weiss
v. Coca-Cola Bottling Co., 990 F.2d 333, 334-35, 337 (7th Cir. 1993) (within three- or four-month
period, supervisor asked employee "about her personal life and compliment[ed] her, telling her
how&nbsp;beautiful she was," asked her for dates, placed "I love you" signs in her work area, placed his
hand on her shoulder at least six times, and twice tried to kiss her in the workplace); Garcia
v.&nbsp;Schwab, 967 S.W.2d 883, 885, 887 (Tex. App--Corpus Christi 1998, no pet.) (supervisor stared
at and commented on plaintiff's breasts, touched his genitals in front of plaintiff, discussed highly
personal and sexual matters with plaintiff, remarked on plaintiff's appearance, and repeatedly made
sexual references in attempt to sexually arouse plaintiff); Green v. Industrial Specialty Contractors,
Inc., 1 S.W.3d 126, 129, 132-34 (Tex. App.--Houston [14th Dist.] 1999, no pet.) (supervisor made
numerous sexual comments, including expressing desire to hold "a wet T-shirt  contest" with
plaintiff as a contestant); (15) cf. Itz, 21 S.W.3d at 462-65, 473-75 (evidence supported hostile-work-environment claim where, within two-month period, supervisor repeatedly called employee at home
in evenings to inquire whether she and boyfriend were going out, later promised to put her up in
an&nbsp;apartment if she broke up with her boyfriend, complimented her body and legs and caressed her
leg from her knees to her ankle during a one-on-one back-room meeting where supervisor seated
them face-to-face at close proximity, was '"always hovering around her and following her,'" gave
her a "'very forceful'" "'body-to-body"' hug lasting "several seconds," and caressed her leg again
during another one-on-one back-room meeting during which he complimented her appearance and
encouraged her to break up with her boyfriend); Wal-Mart Stores, Inc. v. Davis, 979 S.W.2d 30, 34,
41-44 (Tex. App.--Austin 1998, pet. denied) (evidence supported hostile-work-environment claim
when supervisor "began the complained-of course of conduct by acts such as commenting that
[plaintiff] looked good in jeans, standing too close, rubbing her arms, and poking her ribs;" would
force plaintiff to climb ladders on days she was wearing a skirt and "would tell her to climb higher
so he could get a better view;" informed others at a company event, in plaintiff's husband's presence,
that supervisor "had wanted [plaintiff] to wear a short skirt and bend over so that [supervisor] would
have something to look at;" and twice during one-on-one meetings in supervisor's office, supervisor
placed his chair in front of hers and pinned her knees together with his legs, grabbed her upper
thighs, and refused to let go, on one occasion holding on "for two or three minutes").

		In arguing that the objective severity of Alonzo's conduct rises to the level of altering
terms, conditions, or privileges of her employment, Miller emphasizes the two December 7 hugging
incidents.  Miller recounted that she was "kind of like halfway bent down" when Alonzo approached
"and just gave me this really tight hug" while uttering "some comment about the holiday."  Miller
claimed that "all of his body" came into contact with hers, with his arms "in front of me," in a
manner that "I would probably get from a spouse or a boyfriend."  This embrace, according to Miller,
"lasted like maybe a second or so" before she "broke loose as fast as I could."  Alonzo then gave
her&nbsp;another similar hug a few minutes later.  While no doubt highly offensive to her, we cannot
conclude, in light of the foregoing cases, that these two isolated and brief incidents, alone or in
combination with Alonzo's other alleged conduct, would be considered the sort of objectively severe
conduct that would be deemed to alter the terms, conditions, or privileges of Miller's employment. 
See Hockman, 407 F.3d at 321-22 (supervisor's breast-grabbing, attempted kiss, sexually suggestive
remarks, and insistence that employee be alone with him not enough); Quinn, 159 F.3d at 768
("deliberate[] touch[ing]" of breasts with papers not enough); Paul v. Northrop Grumman Ship Sys.,
309 F. App'x 825, 826-29 (5th Cir. 2009) (per curiam) (not enough that male foreman "chest[ed]
up" to female employee's breasts in thirty-second confrontation, then followed employee through
narrow passageway, placed his hands on her stomach, ran his arm around her waist, and "'rubbed
his pelvic region across [her] hips and buttocks'" for a minute or more; noting that court had held
that similar "non-pervasive conduct involving physical touching--including unwanted touching of
intimate body parts--[is] not actionable under Title VII." (citing cases)). 

		Miller also relies on the concept that because Alonzo was her supervisor, his conduct
was invested with "a particular threatening character" due to his "power and authority" over her. 
Ellerth, 524 U.S. at 763.  However, nearly all of the preceding cases we have discussed involved
conduct by supervisors that would carry with it the explicit or implicit threat of job-related
repercussions.  We also note that each of the incidents of which Miller complains, with the exception
of the December 7 hugging incident and the November 11 phone conversation, occurred in
public&nbsp;view, in public areas of shopping malls or Miller's retail store.  Even the hugging incident,
the evidence reflects, occurred in a back storage room located a few feet from the retail area
and&nbsp;while the Twigland company president was in the retail area.  Additionally, Miller admitted that
she knew Twigland had a written anti-sexual-harassment policy that permitted (indeed, required)
her&nbsp;to&nbsp;report any such conduct to the company's human-resources department.  Although Miller
attacked&nbsp;the effectiveness of Twigland's sexual-harassment policy in challenging whether Twigland
met its burden of establishing that it exercised "reasonable care" to prevent and correct
harassment--the first element of its Faragher/Ellerth affirmative defense, Faragher, 524 U.S.
at&nbsp;807; Ellerth, 524 U.S. at 765--it remains undisputed that Miller never attempted to avail herself
of this protection.  See Barrett v. Applied Radiant Energy Corp., 240 F.3d 262, 268 (4th Cir. 2001)
("An employee's subjective belief in the futility of reporting a harasser's behavior is not a reasonable
basis for failing to take advantage of any preventive or corrective opportunities provided by
the&nbsp;employer.").

		Finally, we consider the extent to which Alonzo's conduct unreasonably interfered
with Miller's work performance.  See Harris, 510 U.S. at 23.  Twigland places great emphasis on
Miller's admissions that her job performance had not only been unharmed by Alonzo's alleged
conduct, but actually improved.  It suggests that the absence of any harm to Miller's job performance
singularly forecloses her claim.  This overstates what the U.S. Supreme Court has actually held.  See
Harris, 510 U.S. at 22 ("[E]ven without regard to . . . tangible effects [on employees' job
performance, retention, or advancement], the very fact that the discriminatory conduct was so severe
or pervasive that it created a work environment abusive to employees because of their race, gender,
religion, or national origin offends Title VII's broad rule of workplace equality.").  Nonetheless,
Miller's admissions are significant in determining whether, from the perspective of a reasonable
person in Miller's position, Alonzo's conduct created a work environment so abusive that it
constituted an alteration of the terms, conditions, or privileges of her employment.  Also, while
Miller did testify to her subjective impressions that Alonzo's presence in her store was distracting
and made her job more difficult, she conceded that these impediments arose only "[w]hen [Alonzo]
was in the store, but not when he was actually not in the store."  Again, Alonzo was in Miller's
physical presence on only four days during the forty-nine-day period in which he allegedly
harassed&nbsp;her.

		Guided by the foregoing jurisprudence, we must conclude that Miller has not
presented legally sufficient evidence that any sexual harassment by Alonzo rose to the level of
altering the terms, conditions, or privileges of her employment and "creat[ing] an abusive working
environment."  Harris, 510 U.S. at 21 (quoting Meritor, 477 U.S. at 67).  Again, the point of a
hostile-work-environment sexual-harassment claim under section 21.051 or Title VII is not to
combat sexual harassment as an end in itself, however reprehensible such harassment may be, but
to provide a remedy when sexual harassment rises to a level so "extreme" and "abusive" that it
deprives the victim of equal opportunity in the workplace.  See Meritor, 477 U.S. at 67; DeAngelis,
51 F.3d at 593.  Considering the infrequency of Alonzo's alleged conduct, its lack of relative
severity, and the limited degree to which it impacted Miller's work performance, Miller has failed
to raise a fact issue that she suffered such a deprivation as understood in the applicable
jurisprudence.

		Emphasizing the language of the two-judge panel of this Court in Davis, Miller
urges&nbsp;that because "gender relations in the workplace are rapidly evolving, and views of what is
appropriate behavior are diverse and shifting, a jury made up of a cross-section of our heterogenous
communities provides the appropriate institution for deciding whether borderline situations
should&nbsp;be characterized as sexual harassment&nbsp;.&nbsp;.&nbsp;.&nbsp;."  Davis, 979 S.W.2d at 43 (quoting Gallagher
v. Delaney, 139 F.3d 338, 342 (2d Cir. 1998)).  That statement, as Davis acknowledges, presumes
that there is legally sufficient evidence to support submitting the issue to the jury.  See id.  The
evidence falls below that threshold here.  We sustain Twigland's first issue.


CONCLUSION

		Our disposition of Twigland's first issue requires us to reverse and render judgment
that Miller take nothing on her claim.  We need not reach Twigland's other appellate issues.  See
Tex. R. App. P. 47.1. 



					_________________________________________________

					Bob Pemberton, Justice

Before Chief Justice Law, Justices Puryear and Pemberton;

     Chief Justice Law Not Participating


Reversed and Rendered


Filed:   March 11, 2010








									
1.   The record indicates that "A'gaci" is a Korean word for an elegant woman.  Twigland
describes the A'GACI chain's marketing focus as "sell[ing] affordable fashion-forward clothing
typically to women ranging from ages fifteen to thirty."
2.   Miller also asserted what she styled as a separate cause of action for retaliation,
alleging&nbsp;that her firing was retaliation for her opposing the "discriminatory practice" of Alonzo's
sexual harassment.  See Tex. Lab. Code Ann. § 21.055 (West 2006) (prohibiting retaliation against
a person for "oppos[ing] a discriminatory practice").  However, the district court did not submit
retaliation to the jury separately from Miller's quid-pro-quo sexual-harassment theory, and Miller
does not complain of that action on appeal.
3.   A defending employer may raise the Faragher/Ellerth affirmative defense to bar the
imposition of vicarious liability for a hostile-work-environment sexual-harassment claim predicated
on the actions of a supervisor.  The employer must prove by a preponderance of the evidence that:&nbsp;
(1) the employer exercised reasonable care to prevent and promptly correct any sexually harassing
behavior, and (2) the plaintiff employee unreasonably failed to take advantage of any preventive
or&nbsp;corrective opportunities provided by the employer or to avoid harm otherwise.  Faragher v. City
of Boca Raton, 524 U.S. 775, 780, 807-08 (1998); Burlington Indus., Inc. v. Ellerth, 524 U.S. 742,
765 (1998).
4.   Miller cited the example of a complaint from superiors that "my girls [the term she used
to identify her store employees] not smiling when I'm completely satisfied with them."
5.   For example, Miller's diary summarized the events during her November 9 meeting with
Alonzo as follows: 





Today is the first day that Henry had asked me about things that are more personal. 
He wanted to know how many men I've slept with.  I was really embarrassed . . . but
I told him [answer redacted].  He then said that we can be friends, but no one else
will know . . . what does that mean??  I don't know . . . I must be stupid?? 


(Ellipses in original.)
6.   As before, Miller characterized the infraction as minor and insignificant. 
7.   Miller observed that "dust bunnies" were a particular concern of Mr. John, as were store
employees' "energy" and friendliness with customers. 
8.   In her diary version of these events, Miller states only that "I went to the back looking
for&nbsp;'sale' stickers &amp; Henry followed along.  To my surprise he hugged me from the back.  That
was&nbsp;weird.  Does that mean that he's throwing me hints?  Or being perverted?  He did that twice
today&nbsp;.&nbsp;.&nbsp;.&nbsp;." (Ellipsis in original.)
9.   Miller added that the roads were icy that day.
10.   Miller's diary reflects the following events during her meeting with Alonzo:


He kept telling me that I just don't get what I did wrong, why my visit was bad, that
I don't understand.  I agreed &amp; I asked him to tell me why?  He said it was because
my girls aren't energetic enough, not loud enough w/call outs [a security measure
through which store employees kept track of customers in the store] (which I thought
we did well).  He said that Mr. John said that he deserves better than what or how
my&nbsp;team &amp; I performed during the visit.  During our long meeting he mentioned
that&nbsp;he cares about me &amp; that he loves me several times.  I at this time I wasn't
comprehending his meanings.  Then he said that he knows that the feelings are
mutual.  I then reacted &amp; asked "What does that mean?"  He said that he loves me
&amp; cares about me &amp; wants me to do well, &amp; that he doesn't think I care about
respecting him, because my team's reaction to the visit was very disrespectful.  I'm
still lost, he keeps going around &amp; around.  I'm kinda confused.  Then when we
were&nbsp;ending our conversation or meeting, he said that I owe him a kiss for putting
him through what I've put him through[,] that he will kiss me when I least expect
it&nbsp;.&nbsp;.&nbsp;.  I just laughed along, not knowing how to react to this incident.


(Ellipsis in original.)
11.   It later turned out that a back door had come open.
12.   There was evidence that Miller had previously been provided a universal password to be
used in obtaining information from Brinks in the event the store alarm was activated. 
13.   The Oasis is an Austin-area restaurant and bar overlooking Lake Travis that is known for
its sunset views. 
14.   I.e., beginning November 9, 2005 and ending with her December 28 termination. 
15.   See also Oncale v. Sundowner Offshore Servs. Inc., 523 U.S. 75, 81 (1998) ("The
prohibition of harassment on the basis of sex requires neither asexuality nor androgyny in the
workplace; it forbids only behavior so objectively offensive as to alter the 'conditions' of the
victim's employment. . . . We have always regarded that requirement as crucial, and as sufficient to
ensure that courts and juries do not mistake ordinary socializing in the workplace--such as . . .
intersexual flirtation--for discriminatory 'conditions of employment.'").


